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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:06CR19
                                                  )
JUAN VARGAS,                                      )          SCHEDULING ORDER
                                                  )
                       Defendant.                 )


       IT IS ORDERED that the following is set for hearing on June 1, 2006 at 1:30 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Motion Requesting Leave to Withdraw as Counsel [70]

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.    An interpreter will be provided by the Court.

         DATED this 1st day of June, 2006.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
